      CASE 0:99-cr-00371-RHK-JMM            Doc. 88    Filed 07/27/05     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,

              Plaintiff,                               Criminal No. 99-371 (RHK)
                                                        Civil No. 04-4322 (RHK)
vs.                                                            ORDER

Kent David Olson,

              Defendant.


       Defendant Olson was convicted by a jury of two bank robberies. After an appeal to

the Eighth Circuit, this matter was remanded to this Court for re-sentencing; he was then

sentenced as a career offender to a prison term of 168 months.

       The Section 2255 Petition, now before the Court, alleges (1) that he was wrongly

sentenced as a “career offender” because his state conviction for making “terroristic

threats” should not have been classified as a “crime of violence” for federal sentencing

purposes, and (2) he received ineffective assistance of counsel because Blakely and

Booker-type issues were not raised at sentencing–the Court notes that neither case had

been decided at the time of his sentencing in September 2003.

       With respect to the career offender issue, the Court determines that Defendant’s

position is without merit. Although there may be some doubt as to whether his conviction

for terroristic threats is a crime of violence,1 Petitioner also has three convictions for auto

theft and one for escape. Each of these convictions clearly qualifies as a crime of violence


       1See United States v. Naranjo-Hernandez, 2005 WL 1220833 (5th Cir. 2005).
      CASE 0:99-cr-00371-RHK-JMM            Doc. 88    Filed 07/27/05   Page 2 of 2




for purposes of determining career offender status. See United States v. Sun Bear, 307

F.3d 747 (8th Cir. 2002) and United States v. Nation, 243 F.3d 467 (8th Cir. 2001).

         Petitioner’s Blakely/Booker claim is likewise without merit. The Eighth Circuit has

recently held that a defendant may not collaterally attach his sentence based on Booker.

See Never Misses a Shot v. United States, ___ F.3d ___, 2005 WL 1569403 (8th Cir.

2005).

         For the foregoing reasons, and upon all the files, records and proceedings herein, IT

IS ORDERED that the Motion to Vacate, Set Aside or Correct Sentence (2255) (CR-99-

371, Doc. No. 81; CV-04-4322, Doc. No. 1) is DENIED.

Dated: July 27, 2005




                                                  s/Richard H. Kyle
                                                  RICHARD H. KYLE
                                                  United States District Judge




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